Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 1 of 18 Page ID #:18




                               Exhibit A
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 2 of 18 Page ID #:19




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 9
                         UNITED STATES DISTRICT COURT
10
                        CENTRAL DISTRICT OF CALIFORNIA
11
      TERRY FABRICANT, individually           )     Case No.
12
      and on behalf of all others similarly   )
13    situated,                               )     CLASS ACTION
14                                            )
      Plaintiff,                              )     COMPLAINT FOR VIOLATIONS
15                                            )     OF:
16           vs.                              )
                                              )        1.      NEGLIGENT VIOLATIONS
17                                                             OF THE TELEPHONE
      GOT LEADS 365, TELELEAD,                )                CONSUMER PROTECTION
18    IRSHAD HASAN; and DOES 1                )                ACT [47 U.S.C. §227(b)]
      through 10, inclusive,                  )        2.      WILLFUL VIOLATIONS
19                                                             OF THE TELEPHONE
                                              )                CONSUMER PROTECTION
20    Defendants.                             )                ACT [47 U.S.C. §227(b)]
21                                            )        3.      NEGLIGENT VIOLATIONS
                                                               OF THE TELEPHONE
                                              )                CONSUMER PROTECTION
22
                                              )                ACT [47 U.S.C. §227(c)]
23                                            )        4.      WILLFUL VIOLATIONS
                                                               OF THE TELEPHONE
24
                                              )                CONSUMER PROTECTION
                                              )                ACT [47 U.S.C. §227(c)]
25                                            )
                                              )     DEMAND FOR JURY TRIAL
26
                                              )
27                                            )
28                                            )


                                 CLASS ACTION COMPLAINT
                                              -1-
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 3 of 18 Page ID #:20




 1          Plaintiff TERRY FABRICANT (“Plaintiff”), individually and on behalf of
 2    all others similarly situated, alleges the following upon information and belief
 3    based upon personal knowledge:
 4                                NATURE OF THE CASE
 5          1.     Plaintiff brings this action individually and on behalf of all others
 6    similarly situated seeking damages and any other available legal or equitable
 7    remedies resulting from the illegal actions of Defendant GOT LEADS 365,
 8    TELELEAD, and IRSHAD HASAN (“Defendants”), in negligently, knowingly,
 9    and/or willfully contacting Plaintiff on Plaintiff’s cellular telephone in violation of
10    the Telephone Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”) and
11    related regulations, specifically the National Do-Not-Call provisions, thereby
12    invading Plaintiff’s privacy.
13                               JURISDICTION & VENUE
14          2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
15    a California corporation with its principle place of business also in California, seeks
16    relief on behalf of a Class, which will result in at least one class member belonging
17    to a different state than that of Defendants, California companies. Plaintiff also
18    seeks up to $1,500.00 in damages for each call in violation of the TCPA, which,
19    when aggregated among a proposed class in the thousands, exceeds the
20    $5,000,000.00 threshold for federal court jurisdiction. Therefore, both diversity
21    jurisdiction and the damages threshold under the Class Action Fairness Act of 2005
22    (“CAFA”) are present, and this Court has jurisdiction.
23          3.     Venue is proper in the United States District Court for the Central
24    District of California pursuant to 28 U.S.C. § 1391(b)(2) because Defendant does
25    business within the State of California and Plaintiff resides within the County of
26    Los Angeles.
27                                         PARTIES
28          4.     Plaintiff, TERRY FABRICANT (“Plaintiff”), is an individual in


                                  CLASS ACTION COMPLAINT
                                                -2-
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 4 of 18 Page ID #:21




 1    California and is a “person” as defined by 47 U.S.C. § 153 (39).
 2          5.     Defendant, GOT LEADS 365 (“Defendant GotLeads”), is a company
 3    in the business of providing marketing services to companies by way of calling
 4    individuals, and is a “person” as defined by 47 U.S.C. § 153 (39).
 5          6.     Defendant, IRSHAD HASAN (“Defendant Hasan”) is an individual
 6    who at all relevant times the CEO and Founder of Defendant GotLeads. As
 7    president of Defendant GotLeads, Defendant Hasan was responsible for the overall
 8    success of the company. Defendant Hasan materially participated in calling
 9    individuals by occupying a position of critical importance to Defendant GotLeads’s
10    business; as the president of Defendant GotLeads, he exercised control over the
11    affairs of the business; and he was regularly engaged, albeit more often indirectly
12    than directly, in the calling of individuals through his involvement in Defendant
13    GotLeads’s affairs. Defendant Hasan continued to play a key role in maintaining
14    and expanding Defendant GotLeads’s activities throughout the time in question
15          7.     Defendant, TELELEAD (“Defendant TeleLead”), is a company in the
16    business of providing marketing services to companies by way of dialing system to
17    call individuals, and is a “person” as defined by 47 U.S.C. § 153 (39).
18          8.     The above named Defendants, and their subsidiaries and agents, are
19    collectively referred to as “Defendants.” The true names and capacities of the
20    Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
21    currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
22    names. Each of the Defendants designated herein as a DOE is legally responsible
23    for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
24    Complaint to reflect the true names and capacities of the DOE Defendants when
25    such identities become known.
26          9.     Plaintiff is informed and believes that at all relevant times, each and
27    every Defendant was acting as an agent and/or employee of each of the other
28    Defendants and was acting within the course and scope of said agency and/or


                                 CLASS ACTION COMPLAINT
                                               -3-
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 5 of 18 Page ID #:22




 1    employment with the full knowledge and consent of each of the other Defendants.
 2    Plaintiff is informed and believes that each of the acts and/or omissions complained
 3    of herein was made known to, and ratified by, each of the other Defendants.
 4                               FACTUAL ALLEGATIONS
 5          10.    Beginning in or around March of 2017, Defendants contacted Plaintiff
 6    on Plaintiff’s cellular telephone numbers ending in -8950 and -1083 in an attempt
 7    to solicit Plaintiff to purchase Harbor Touch’s services. Defendants called Plaintiff
 8    including but not limited to June 28, 2017.
 9          11.    Plaintiff is informed, believes and based thereon alleges that
10    Defendant Hasan and Defendant GotLeads were hired by Harbor Touch to solicit
11    on its behalf.
12          12.    Plaintiff is informed, believes, and based thereon alleges that
13    Defendant Hasan and Defendatn GotLeads hired Defendant TeleLead for its
14    predictive dialing services.
15          13.    Defendants used an “automatic telephone dialing system” as defined
16    by 47 U.S.C. § 227(a)(1) to place its calls to Plaintiff seeking to solicit its services.
17          14.    Defendants contacted or attempted to contact Plaintiff from telephone
18    numbers belonging to Defendants, including without limitation (561) 807-0978,
19    (774) 331-0179, (870) 663-0131, (661) 702-8950, and (323) 486-9229.
20          15.    Defendants’ calls constituted calls that were not for emergency
21    purposes as defined by 47 U.S.C. § 227(b)(1)(A).
22          16.    Defendants’ calls were placed to telephone number assigned to a
23    cellular telephone service for which Plaintiff incurs a charge for incoming calls
24    pursuant to 47 U.S.C. § 227(b)(1).
25          17.    During all relevant times, Defendants did not possess Plaintiff’s “prior
26    express consent” to receive calls using an automatic telephone dialing system or an
27    artificial or prerecorded voice on its cellular telephones pursuant to 47 U.S.C. §
28    227(b)(1)(A).


                                     CLASS ACTION COMPLAINT
                                                 -4-
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 6 of 18 Page ID #:23




 1          18.    Furthermore, Plaintiff’s cellular telephone numbers ending in -1083
 2    has been on the National Do-Not-Call Registry well over thirty (30) days prior to
 3    Defendants’ initial calls.
 4          19.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
 5    64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
 6          20.    Plaintiff received numerous solicitation calls from Defendants within
 7    a 12-month period.
 8          21.    Plaintiff requested for Defendants to stop calling Plaintiff during one
 9    of the initial calls from Defendants, thus revoking any prior express consent that
10    had existed and terminating any established business relationship that had existed,
11    as defined under 16 C.F.R. 310.4(b)(1)(iii)(B).
12          22.    Despite this, Defendants continued to call Plaintiff in an attempt to
13    solicit its services and in violation of the National Do-Not-Call provisions of the
14    TCPA.
15          23.    Upon information and belief, and based on Plaintiff’s experiences of
16    being called by Defendants after requesting they stop calling, and at all relevant
17    times, Defendants failed to establish and implement reasonable practices and
18    procedures to effectively prevent telephone solicitations in violation of the
19    regulations prescribed under 47 U.S.C. § 227(c)(5).
20                                 CLASS ALLEGATIONS
21          24.    Plaintiff brings this action individually and on behalf of all others
22    similarly situated, as a member the four proposed classes (hereafter, jointly, “The
23    Classes”). The class concerning the ATDS claim for no prior express consent
24    (hereafter “The ATDS Class”) is defined as follows:
25
                   All persons within the United States who received any
26                 solicitation/telemarketing   telephone   calls   from
27                 Defendants to said person’s cellular telephone made
                   through the use of any automatic telephone dialing
28
                   system or an artificial or prerecorded voice and such


                                   CLASS ACTION COMPLAINT
                                              -5-
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 7 of 18 Page ID #:24




 1                  person had not previously consented to receiving such
                    calls within the four years prior to the filing of this
 2                  Complaint
 3
 4          25.     The class concerning the ATDS claim for revocation of consent, to the
 5    extent prior consent existed (hereafter “The ATDS Revocation Class”) is defined
 6    as follows:
 7
                    All persons within the United States who received any
 8                  solicitation/telemarketing     telephone      calls    from
 9
                    Defendants to said person’s cellular telephone made
                    through the use of any automatic telephone dialing
10                  system or an artificial or prerecorded voice and such
11                  person had revoked any prior express consent to receive
                    such calls prior to the calls within the four years prior to
12                  the filing of this Complaint.
13
14          26.     The class concerning the National Do-Not-Call violation (hereafter
15    “The DNC Class”) is defined as follows:
16
                    All persons within the United States registered on the
17                  National Do-Not-Call Registry for at least 30 days, who
18                  had not granted Defendants prior express consent nor
                    had a prior established business relationship, who
19                  received more than one call made by or on behalf of
20                  Defendants that promoted Defendants’ products or
                    services, within any twelve-month period, within four
21
                    years prior to the filing of the complaint.
22
            27.     The class concerning the National Do-Not-Call violation following
23
      revocation of consent and prior business relationship, to the extent they existed
24
      (hereafter “The DNC Revocation Class”) is defined as follows:
25
26                  All persons within the United States registered on the
                    National Do-Not-Call Registry for at least 30 days, who
27                  received more than one call made by or on behalf of
28                  Defendants that promoted Defendants’ products or


                                  CLASS ACTION COMPLAINT
                                                -6-
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 8 of 18 Page ID #:25




 1                 services, after having revoked consent and any prior
                   established business relationship, within any twelve-
 2                 month period, within four years prior to the filing of the
 3                 complaint.
 4
            28.    Plaintiff represents, and is a member of, The ATDS Class, consisting
 5
      of all persons within the United States who received any solicitation telephone calls
 6
      from Defendants to said person’s cellular telephone made through the use of any
 7
      automatic telephone dialing system or an artificial or prerecorded voice and such
 8
      person had not previously not provided their cellular telephone number to
 9
      Defendants within the four years prior to the filing of this Complaint.
10
            29.    Plaintiff represents, and is a member of, The ATDS Revocation Class,
11
      consisting of all persons within the United States who received any
12
      solicitation/telemarketing telephone calls from Defendants to said person’s cellular
13
      telephone made through the use of any automatic telephone dialing system or an
14
      artificial or prerecorded voice and such person had revoked any prior express
15
      consent to receive such calls prior to the calls within the four years prior to the
16
      filing of this Complaint.
17
            30.    Plaintiff represents, and is a member of, The DNC Class, consisting
18
      of all persons within the United States registered on the National Do-Not-Call
19
      Registry for at least 30 days, who had not granted Defendants prior express consent
20
      nor had a prior established business relationship, who received more than one call
21
      made by or on behalf of Defendants that promoted Defendants’ products or
22
      services, within any twelve-month period, within four years prior to the filing of
23
      the complaint.
24
            31.    Plaintiff represents, and is a member of, The DNC Revocation Class,
25
      consisting of all persons within the United States registered on the National Do-
26
      Not-Call Registry for at least 30 days, who received more than one call made by or
27
      on behalf of Defendants that promoted Defendant’s products or services, after
28



                                  CLASS ACTION COMPLAINT
                                               -7-
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 9 of 18 Page ID #:26




 1    having revoked consent and any prior established business relationship, within any
 2    twelve-month period, within four years prior to the filing of the complaint.
 3          32.     Defendants, their employees and agents are excluded from The
 4    Classes. Plaintiff does not know the number of members in The Classes, but
 5    believes the Classes members number in the thousands, if not more. Thus, this
 6    matter should be certified as a Class Action to assist in the expeditious litigation of
 7    the matter.
 8          33.     The Classes are so numerous that the individual joinder of all of its
 9    members is impractical. While the exact number and identities of The Classes
10    members are unknown to Plaintiff at this time and can only be ascertained through
11    appropriate discovery, Plaintiff is informed and believes and thereon alleges that
12    The Classes includes thousands of members. Plaintiff alleges that The Classes
13    members may be ascertained by the records maintained by Defendants.
14          34.     Plaintiff and members of The ATDS Class and The ATDS Revocation
15    Class were harmed by the acts of Defendants in at least the following ways:
16    Defendants illegally contacted Plaintiff and ATDS Class members via their cellular
17    telephones thereby causing Plaintiff and ATDS Class and ATDS Revocation Class
18    members to incur certain charges or reduced telephone time for which Plaintiff and
19    ATDS Class and ATDS Revocation Class members had previously paid by having
20    to retrieve or administer messages left by Defendants during those illegal calls, and
21    invading the privacy of said Plaintiff and ATDS Class and ATDS Revocation Class
22    members.
23          35.     Common questions of fact and law exist as to all members of The
24    ATDS Class which predominate over any questions affecting only individual
25    members of The ATDS Class. These common legal and factual questions, which
26    do not vary between ATDS Class members, and which may be determined without
27    reference to the individual circumstances of any ATDS Class members, include,
28    but are not limited to, the following:


                                  CLASS ACTION COMPLAINT
                                                -8-
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 10 of 18 Page ID #:27




 1                 a.    Whether, within the four years prior to the filing of this
 2                       Complaint, Defendants made any telemarketing/solicitation
 3                       call (other than a call made for emergency purposes or made
 4                       with the prior express consent of the called party) to a ATDS
 5                       Class member using any automatic telephone dialing system or
 6                       any artificial or prerecorded voice to any telephone number
 7                       assigned to a cellular telephone service;
 8                 b.    Whether Plaintiff and the ATDS Class members were damaged
 9                       thereby, and the extent of damages for such violation; and
10                 c.    Whether Defendants and their agents should be enjoined from
11                       engaging in such conduct in the future.
12          36.    As a person that received numerous telemarketing/solicitation calls
13    from Defendants using an automatic telephone dialing system or an artificial or
14    prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
15    claims that are typical of The ATDS Class.
16          37.    Common questions of fact and law exist as to all members of The
17    ATDS Revocation Class which predominate over any questions affecting only
18    individual members of The ATDS Revocation Class. These common legal and
19    factual questions, which do not vary between ATDS Revocation Class members,
20    and which may be determined without reference to the individual circumstances of
21    any ATDS Revocation Class members, include, but are not limited to, the
22    following:
23                 a.    Whether, within the four years prior to the filing of this
24                       Complaint, Defendants made any telemarketing/solicitation
25                       call (other than a call made for emergency purposes or made
26                       with the prior express consent of the called party) to an ATDS
27                       Revocation Class member, who had revoked any prior express
28                       consent to be called using an ATDS, using any automatic


                                 CLASS ACTION COMPLAINT
                                              -9-
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 11 of 18 Page ID #:28




 1                        telephone dialing system or any artificial or prerecorded voice
 2                        to any telephone number assigned to a cellular telephone
 3                        service;
 4                 b.     Whether Plaintiff and the ATDS Revocation Class members
 5                        were damaged thereby, and the extent of damages for such
 6                        violation; and
 7                 c.     Whether Defendants and their agents should be enjoined from
 8                        engaging in such conduct in the future.
 9          38.    As a person that received numerous telemarketing/solicitation calls
10    from Defendants using an automatic telephone dialing system or an artificial or
11    prerecorded voice, after Plaintiff had revoked any prior express consent, Plaintiff
12    is asserting claims that are typical of The ATDS Revocation Class.
13          39.    Plaintiff and members of The DNC Class and DNC Revocation Class
14    were harmed by the acts of Defendants in at least the following ways: Defendants
15    illegally contacted Plaintiff and DNC Class and DNC Revocation Class members
16    via their telephones for solicitation purposes, thereby invading the privacy of said
17    Plaintiff and the DNC Class and DNC Revocation Class members whose telephone
18    numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
19    and DNC Revocation Class members were damaged thereby.
20          40.    Common questions of fact and law exist as to all members of The
21    DNC Class which predominate over any questions affecting only individual
22    members of The DNC Class. These common legal and factual questions, which do
23    not vary between DNC Class members, and which may be determined without
24    reference to the individual circumstances of any DNC Class members, include, but
25    are not limited to, the following:
26                 a.     Whether, within the four years prior to the filing of this
27                        Complaint, Defendants or its agents placed more than one
28                        solicitation call to the members of the DNC Class whose


                                  CLASS ACTION COMPLAINT
                                              - 10 -
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 12 of 18 Page ID #:29




 1                       telephone numbers were on the National Do-Not-Call Registry
 2                       and who had not granted prior express consent to Defendants
 3                       and did not have an established business relationship with
 4                       Defendants;
 5                b.     Whether Defendants obtained prior express written consent to
 6                       place solicitation calls to Plaintiff or the DNC Class members’
 7                       telephones;
 8                c.     Whether Plaintiff and the DNC Class member were damaged
 9                       thereby, and the extent of damages for such violation; and
10                d.     Whether Defendants and their agents should be enjoined from
11                       engaging in such conduct in the future.
12          41.   As a person that received numerous solicitation calls from Defendants
13    within a 12-month period, who had not granted Defendants prior express consent
14    and did not have an established business relationship with Defendants, Plaintiff is
15    asserting claims that are typical of the DNC Class.
16          42.   Common questions of fact and law exist as to all members of The
17    DNC Class which predominate over any questions affecting only individual
18    members of The DNC Revocation Class.            These common legal and factual
19    questions, which do not vary between DNC Revocation Class members, and which
20    may be determined without reference to the individual circumstances of any DNC
21    Revocation Class members, include, but are not limited to, the following:
22                a.     Whether, within the four years prior to the filing of this
23                       Complaint, Defendants or its agents placed more than one
24                       solicitation call to the members of the DNC Class whose
25                       telephone numbers were on the National Do-Not-Call Registry
26                       and who had revoked any prior express consent and any
27                       established business relationship with Defendants;
28                b.     Whether Plaintiff and the DNC Class member were damaged


                                 CLASS ACTION COMPLAINT
                                             - 11 -
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 13 of 18 Page ID #:30




 1                       thereby, and the extent of damages for such violation; and
 2                 c.    Whether Defendants and their agents should be enjoined from
 3                       engaging in such conduct in the future.
 4          43.    As a person that received numerous solicitation calls from Defendants
 5    within a 12-month period, who, to the extent one existed, had revoked any prior
 6    express consent and any established business relationship with Defendants,
 7    Plaintiff is asserting claims that are typical of the DNC Revocation Class.
 8          44.    Plaintiff will fairly and adequately protect the interests of the members
 9    of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
10    class actions.
11          45.    A class action is superior to other available methods of fair and
12    efficient adjudication of this controversy, since individual litigation of the claims
13    of all Classes members is impracticable. Even if every Classes member could
14    afford individual litigation, the court system could not. It would be unduly
15    burdensome to the courts in which individual litigation of numerous issues would
16    proceed. Individualized litigation would also present the potential for varying,
17    inconsistent, or contradictory judgments and would magnify the delay and expense
18    to all parties and to the court system resulting from multiple trials of the same
19    complex factual issues. By contrast, the conduct of this action as a class action
20    presents fewer management difficulties, conserves the resources of the parties and
21    of the court system, and protects the rights of each Classes member.
22          46.    The prosecution of separate actions by individual Classes members
23    would create a risk of adjudications with respect to them that would, as a practical
24    matter, be dispositive of the interests of the other Classes members not parties to
25    such adjudications or that would substantially impair or impede the ability of such
26    non-party Class members to protect their interests.
27          47.    Defendants have acted or refused to act in respects generally
28    applicable to The Classes, thereby making appropriate final and injunctive relief


                                 CLASS ACTION COMPLAINT
                                              - 12 -
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 14 of 18 Page ID #:31




 1    with regard to the members of the Classes as a whole.
 2                              FIRST CAUSE OF ACTION
 3           Negligent Violations of the Telephone Consumer Protection Act
 4                                     47 U.S.C. §227(b).
 5                On Behalf of the ATDS Class and ATDS Revocation Class
 6          48.     Plaintiff repeats and incorporates by reference into this cause of action
 7    the allegations set forth above at Paragraphs 1-47.
 8          49.     The foregoing acts and omissions of Defendants constitute numerous
 9    and multiple negligent violations of the TCPA, including but not limited to each
10    and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
11    47 U.S.C. § 227 (b)(1)(A).
12          50.     As a result of Defendants’ negligent violations of 47 U.S.C. § 227(b),
13    Plaintiff and the Class Members are entitled an award of $500.00 in statutory
14    damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
15          51.     Plaintiff and the ATDS Class and ATDS Revocation Class members
16    are also entitled to and seek injunctive relief prohibiting such conduct in the future.
17
18                             SECOND CAUSE OF ACTION
19      Knowing and/or Willful Violations of the Telephone Consumer Protection
20                                             Act
21                                     47 U.S.C. §227(b)
22            On Behalf of the ATDS Class and the ATDS Revocation Class
23          52.     Plaintiff repeats and incorporates by reference into this cause of action
24    the allegations set forth above at Paragraphs 1-47.
25          53.     The foregoing acts and omissions of Defendants constitute numerous
26    and multiple knowing and/or willful violations of the TCPA, including but not
27    limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
28    and in particular 47 U.S.C. § 227 (b)(1)(A).


                                   CLASS ACTION COMPLAINT
                                               - 13 -
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 15 of 18 Page ID #:32




 1          54.    As a result of Defendants’ knowing and/or willful violations of 47
 2    U.S.C. § 227(b), Plaintiff and the ATDS Class and ATDS Revocation Class
 3    members are entitled an award of $1,500.00 in statutory damages, for each and
 4    every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 5          55.    Plaintiff and the Class members are also entitled to and seek injunctive
 6    relief prohibiting such conduct in the future.
 7                              THIRD CAUSE OF ACTION
 8           Negligent Violations of the Telephone Consumer Protection Act
 9                                    47 U.S.C. §227(c)
10             On Behalf of the DNC Class and the DNC Revocation Class
11          56.    Plaintiff repeats and incorporates by reference into this cause of action
12    the allegations set forth above at Paragraphs 1-47.
13          57.    The foregoing acts and omissions of Defendants constitute numerous
14    and multiple negligent violations of the TCPA, including but not limited to each
15    and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
16    47 U.S.C. § 227 (c)(5).
17          58.    As a result of Defendants’ negligent violations of 47 U.S.C. § 227(c),
18    Plaintiff and the DNC Class and DNC Revocation Class Members are entitled an
19    award of $500.00 in statutory damages, for each and every violation, pursuant to
20    47 U.S.C. § 227(c)(5)(B).
21          59.    Plaintiff and the DNC Class and DNC Revocation Class members are
22    also entitled to and seek injunctive relief prohibiting such conduct in the future.
23                              FOURTH CAUSE OF ACTION
24      Knowing and/or Willful Violations of the Telephone Consumer Protection
25                                            Act
26                                  47 U.S.C. §227 et seq.
27                On Behalf of the DNC Class and DNC Revocation Class
28          60.    Plaintiff repeats and incorporates by reference into this cause of action


                                  CLASS ACTION COMPLAINT
                                               - 14 -
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 16 of 18 Page ID #:33




 1    the allegations set forth above at Paragraphs 1-47.
 2          61.    The foregoing acts and omissions of Defendants constitute numerous
 3    and multiple knowing and/or willful violations of the TCPA, including but not
 4    limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
 5    in particular 47 U.S.C. § 227 (c)(5).
 6          62.    As a result of Defendants’ knowing and/or willful violations of 47
 7    U.S.C. § 227(c), Plaintiff and the DNC Class and DNC Revocation Class members
 8    are entitled an award of $1,500.00 in statutory damages, for each and every
 9    violation, pursuant to 47 U.S.C. § 227(c)(5).
10          63.    Plaintiff and the DNC Class and DNC Revocation Class members are
11    also entitled to and seek injunctive relief prohibiting such conduct in the future.
12                                 PRAYER FOR RELIEF
13     WHEREFORE, Plaintiff requests judgment against Defendant for the following:
14                              FIRST CAUSE OF ACTION
15           Negligent Violations of the Telephone Consumer Protection Act
16                                    47 U.S.C. §227(b)
17                 As a result of Defendants’ negligent violations of 47 U.S.C.
18                 §227(b)(1), Plaintiff and the ATDS Class and ATDS Revocation
19                 Class members are entitled to and request $500 in statutory damages,
20                 for each and every violation, pursuant to 47 U.S.C. 227(b)(3)(B).
21                 Any and all other relief that the Court deems just and proper.
22                            SECOND CAUSE OF ACTION
23      Knowing and/or Willful Violations of the Telephone Consumer Protection
24                                            Act
25                                    47 U.S.C. §227(b)
26                 As a result of Defendants’ willful and/or knowing violations of 47
27                 U.S.C. §227(b)(1), Plaintiff and the ATDS Class and ATDS
28                 Revocation Class members are entitled to and request treble damages,


                                  CLASS ACTION COMPLAINT
                                               - 15 -
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 17 of 18 Page ID #:34




 1                as provided by statute, up to $1,500, for each and every violation,
 2                pursuant to 47 U.S.C. §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
 3                Any and all other relief that the Court deems just and proper.
 4                            THIRD CAUSE OF ACTION
 5           Negligent Violations of the Telephone Consumer Protection Act
 6                                     47 U.S.C. §227(c)
 7                As a result of Defendants’ negligent violations of 47 U.S.C.
 8                §227(c)(5), Plaintiff and the DNC Class and DNC Revocation Class
 9                members are entitled to and request $500 in statutory damages, for
10                each and every violation, pursuant to 47 U.S.C. 227(c)(5).
11                Any and all other relief that the Court deems just and proper.
12                           FOURTH CAUSE OF ACTION
13      Knowing and/or Willful Violations of the Telephone Consumer Protection
14                                           Act
15                                     47 U.S.C. §227(c)
16                As a result of Defendants’ willful and/or knowing violations of 47
17                U.S.C. §227(c)(5), Plaintiff and the DNC Class and DNC Revocation
18                Class members are entitled to and request treble damages, as provided
19                by statute, up to $1,500, for each and every violation, pursuant to 47
20                U.S.C. §227(c)(5).
21                Any and all other relief that the Court deems just and proper.
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                                 CLASS ACTION COMPLAINT
                                              - 16 -
     Case 2:17-cv-06510-JFW-JC Document 2-1 Filed 09/02/17 Page 18 of 18 Page ID #:35




 1                                     JURY DEMAND
 2          64.    Pursuant to the Seventh Amendment to the Constitution of the United
 3    States of America, Plaintiff is entitled to, and demands, a trial by jury.
 4
            Respectfully Submitted this 2nd Day of September, 2017.
 5
                                 LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 6
 7                                      By: /s/ Todd M. Friedman
                                            Todd M. Friedman
 8
                                            Law Offices of Todd M. Friedman
 9                                          Attorney for Plaintiff
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                                  CLASS ACTION COMPLAINT
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